        Case 5:09-cr-40031-SAC       Document 39     Filed 08/26/09    Page 1 of 23




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                            Plaintiff,

vs.                                       Case No. 09-40031-01/02-SAC

GONZALO P. MALDONADO and
MANUEL GARCIA a/k/a
Tomas Pimental-Legrand,

                            Defendants.


                             MEMORANDUM AND ORDER

        This case comes before the court on motions to suppress filed by both

defendants and opposed by the government. The court held an evidentiary hearing on

July 22nd, and, at the request of defendant Garcia’s counsel, permitted the parties to

brief the issues thereafter. No briefs were subsequently filed.

Facts

        On February 17, 2009, at approximately 8:57 a.m., Trooper Wolting of the

Kansas Highway Patrol stopped the defendants on I-70. Defendant Maldonado was

driving the vehicle and defendant Garcia was its sole passenger. Trooper Wolting

testified at the hearing in a clear and credible manner. He stated that he followed the

vehicle1 for two or three minutes and stopped it for three reasons: 1) because within a

one-mile span, it hit the center line twice and went over it once; 2) because its licence

tag was so dirty that he could not read its month or year of expiration and thought it

        1
         This court disagrees with United States v. Maldonado, 614 F.Supp.2d 1179 (D.
Kan. 2009), to the extent it implies that an officer needs reasonable suspicion to follow a
vehicle.
       Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09    Page 2 of 23




might be expired; and 3) because dispatch had advised him that the vehicle’s

registration was not on file.

       Upon his initial approach to the vehicle, Trooper Wolting wiped some dirt off its

licence tag, enabling him to read the expiration date and see that it had not expired. He

then approached driver Maldonado and explained the reasons for the stop. As he did

so, defendant Garcia told the Trooper that driver Maldonado did not communicate very

well in English. Trooper Wolting thereafter directed his conversation throughout the

remainder of the encounter to defendant Garcia, and defendant Maldonado remained

silent throughout it.

       Defendant Garcia said the car belonged to a friend of his, then said that it

belonged to the men’s employer, whom he identified only as “Michael.” He showed the

trooper a business card for a painting and drywall business bearing the name of Michael

Laviolette. Defendant Garcia said that he was retired and worked part time at that

business.

       Defendant Garcia told Trooper Wolting that they were traveling from Sacramento,

California to Kansas to attend a concert at 635 and 83rd Street. When the trooper asked

what city, defendant Garcia responded “Kansas,” then confirmed “Kansas City,” only

when prompted by the trooper. Trooper Wolting’s impression was that defendant Garcia

was “very nervous,” talked more and spoke faster than was usual for persons involved

in a normal traffic stop.

       The Trooper then returned to his vehicle. He confirmed that defendant

Maldonado’s license was valid, but found that the vehicle’s registration was not on file in

California, and that no owner information was available under its license tag number. He

                                             2
      Case 5:09-cr-40031-SAC         Document 39      Filed 08/26/09    Page 3 of 23




was informed that the vehicle had been salvaged so ran its vehicle identification number

(VIN) but learned that the tag was not associated with that vehicle and that the last tag

assigned to the vehicle was in 2007. The vehicle was not reported to be stolen, but he

was not able to learn who owned it. He also learned that the same vehicle had been

stopped for a traffic violation in Thomas County, Kansas, eleven days earlier.

       Trooper Wolting then re-approached the vehicle and asked if there was another

registration for the vehicle, explaining that the registration the defendants had given him

did not go with the tag. Defendant Garcia responded by saying they had sent the

paperwork in, and were still waiting for it.

       Defendant Garcia asked about his driver’s license, volunteering that he did not

have a valid driver’s license in California but hoped to obtain one in Kansas, and asked

for the trooper’s assistance in so doing. Defendant Garcia stated that they were going to

visit two friends and a nephew in Kansas City. Trooper Wolting then issued a written

warning to defendant Maldonado, explaining that it was for failing to maintain a lane and

for the registration violation. He returned to defendants all the paperwork he had taken

from them, and said, “No ticket. Just a warning. Thank you.” He left the passenger

window, walked to the rear of the vehicle, then returned to the passenger window where

he asked in a normal tone of voice whether he could ask the men a few more questions.

Defendant Garcia responded affirmatively, without hesitation. As before, Defendant

Maldonado remained silent.

        In response to his questions, Trooper Wolting was told by defendant Garcia that

both defendants live in California, that they were friends and not relatives, that they

were going to Kansas City to visit two friends and his nephew, that they were staying

                                               3
       Case 5:09-cr-40031-SAC       Document 39       Filed 08/26/09    Page 4 of 23




about a week, and that he was maybe going to try to get his driver’s license in Kansas.

When Trooper Wolting asked about the car’s ownership, defendant Garcia said it

belonged to his friend and that he and defendant Maldonado worked together for him,

doing construction and driveways.

       Trooper Wolting then asked whether there was anything illegal in the vehicle,

such as “cervesa,” “pistoles,” drugs, or illegal aliens. After each stated example,

defendant Garcia interjected, “No, no,” and after the last example he said, “No, we don’t

have nothing.” The Trooper, still using a conversational tone of voice, asked, “Can I

look?” and defendant Garcia replied, “Yes, you can look.” Defendant Maldonado offered

no objection, but remained silent, as he had throughout their encounter. The Trooper

then asked the men to exit the car and to step away from the vehicle, which they did.

       The Trooper then searched the car for approximately ten minutes, including its

front and back seats, its trunk, and its undercarriage. During the search, he noticed a

“very strong odor” of air freshener under the driver’s seat, and three different types of

laundry detergent in the trunk. He knew that the air fresheners and laundry detergents

are often used as masking agents to cover up the odor of illegal drugs, and found it

unusual for a person to have three types of laundry detergent in the trunk during a

cross-country trip. At this point, he was suspicious that the men were trafficking drugs in

the vehicle. He also found it unusual that although clothes were on hangers, they were

laid in the back seat instead of hanging up, and that there was minimal luggage for the

stated length of the trip.

       Trooper Wolting then noticed that the color of paint around the gas tank area was

different than the color on the rest of the vehicle. This was significant because it

                                             4
      Case 5:09-cr-40031-SAC      Document 39      Filed 08/26/09    Page 5 of 23




indicated an alteration and led him to believe that the vehicle had a hidden compartment

near that area. Recalling that the vehicle had been salvaged, he asked the defendants,

“When the car was rebuilt, what did they do?” Defendant Garcia replied that work might

have been done to the tires because the vehicle made a noise. Trooper Wolting then

asked the men if they would follow him to a place where he could look underneath the

vehicle, and defendant Garcia quickly replied, “Sure.” Trooper Wolting’s impression

throughout the encounter was that defendant Garcia was in charge, since he alone

spoke to him and defendant Maldonado gave no appearance of any disagreement with

defendant Garcia.

        Defendants followed Trooper Wolting approximately fifteen miles to the

Ellsworth Service Center, which had an overhead lift he could use. Soon thereafter,

defendant Maldonado left the place where the trooper had asked him to stand and ran

across the highway into a ditch. Trooper Wolting reentered his patrol car and captured

defendant Maldonado with the assistance of another trooper who was just approaching

at the time. When defendant Maldonado saw the troopers coming toward him with their

patrol car lights flashing, he turned around and walked toward them. Handcuffed and

placed in the back of a trooper’s cruiser, defendant Maldonado was returned to the

Service Center.

      Soon thereafter, a concealed compartment containing methamphetamine was

found in the vehicle near the discolored paint. Both defendants were given Miranda

warnings at approximately 9:53 a.m. and were transported to the Ellsworth County,

Kansas jail, where DEA Special Agent Cherrington was called to assist.

      At the hearing, S.A. Cherrington testified in a clear and credible manner. He

                                           5
      Case 5:09-cr-40031-SAC         Document 39       Filed 08/26/09      Page 6 of 23




stated that he communicated with the defendants through an interpreter, and gave both

men Miranda warnings again. Defendant Maldonado declined to speak to the officers,

so was asked only routine “booking questions.” Defendant Maldonado responded to

questions about his name, date of birth, social security number, etc., but when asked

about telephone numbers for his relatives, he was unable to provide them from memory

and mentioned that the numbers were stored in his cell phone. S.A. Cherrington then

asked if he could look in his cell phone, and Defendant Maldonado responded

affirmatively, without expressly stating any limitations. S.A. Cherrington, believing that

he had consent to examine the entire contents of defendant Maldonado’s cell phone,

searched its contact list/address book and its call logs which showed recent received,

dialed, and missed calls.

Arguments and Authorities

       Initial Stop

       Neither party argues in their briefs that the initial stop of the vehicle was illegal.

Trooper Wolting issued a warning to defendant Maldonado for driving left of center and

for failing to have a valid vehicle registration on file. Defendant Maldonado’s counsel

alleges that he never drove left of center but provides no factual basis for that assertion,

and raises no legal challenge to the stop.

       The court’s “sole inquiry is whether this particular officer had reasonable

suspicion that this particular motorist violated ‘any one of the multitude of applicable

traffic and equipment regulations' of the jurisdiction.” United States v. Eckhart, 569 F.3d

1263, 1271 (10th Cir. 2009), quoting Delaware v. Prouse, 440 U.S. 648, 661, 99 S.Ct.

1391, 59 L.Ed.2d 660 (1979). Under this standard, the initial traffic stop in this case was

                                               6
       Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09     Page 7 of 23




unquestionably legal, as all three stated reasons for the stop are supported by specific

facts articulated by Trooper Wolting, and constitute reasonable suspicion of a traffic

violation.2

       Scope of detention

       Neither defendant challenges the events which occurred prior to Trooper

Wolting’s return of the documents to the defendants, i.e., the traffic stop. Only the

events after the Trooper’s reapproach and return of traffic-related documents are in

question. The government contends and defendants deny that Trooper Wolting got valid

consent to further question the defendants, and also had reasonable suspicion to detain

the defendants after the traffic stop ended.

              General law - Terry stops



       2
         This court disagrees with the finding in United States v. Maldonado, 614
F.Supp.2d 1179 (D. Kan. 2009), that under Kansas law a driver’s failure to maintain a
lane is not a traffic violation unless the movement poses a danger. K.S.A. § 8-1522(a)
does not require a showing of any danger, but merely requires proof of reasonable
suspicion that the driver did not purposely move out of the lane and, “thereby, failed to
first ascertain that one or more of those departures could be “made with safety.” United
States v. Brown, 234 Fed.Appx. 838, 844-45 (10th Cir. 2007); United States v. Egan,
256 Fed.Appx. 191, 195 (10th Cir. 2007) (finding officer's observation of a vehicle
straying out of its lane two to three times within a mile “creates reasonable suspicion
that the driver violated Kan. Stat. Ann. § 8-1522(a) so long as the strays could not be
explained by adverse physical conditions such as the state of the road, the weather, or
the conduct of law enforcement,”) citing United States v. Cline, 349 F.3d 1276, 1287
(10th Cir. 2003); United States v. Brown, 234 Fed.Appx. 838, 844-45 (10th Cir. 2007);
United States v. Zabalza, 346 F.3d 1255, 1258-59 (10th Cir. 2003); United States v.
Ozbirn, 189 F.3d 1194,1198 (10th Cir. 1999); United States v Jones, 512 F.Supp.2d
1193, 1194 (D.Kan. 2007) (finding that drifting out of a lane just once would provide
reasonable suspicion when under the circumstances "the driver could reasonably be
expected to maintain a straight course at that time in that vehicle on that roadway.");
United States v. Neeley, 527 F.Supp.2d 1326 (D. Kan. 2007); State v. Marx, 38
Kan.App.2d 598, 171 P.3d 276 (2007).


                                               7
       Case 5:09-cr-40031-SAC         Document 39       Filed 08/26/09     Page 8 of 23




       To be reasonable, a traffic stop must not only be “justified at its inception,” but

the temporary detention associated with the stop must also be “reasonably related in

scope to the circumstances which justified the interference in the first place” Eckhart,

569 F.3d at 1273, quoting United States v. Botero-Ospina, 71 F.3d 783, 786 (10th

Cir.1995) (en banc), cert. denied, 518 U.S. 1007 (1996). A traffic “stop generally ends

when the officer returns the driver's license, registration, and insurance information.”

United States v. Manjarrez, 348 F.3d 881, 885 (10th Cir. 2003), cert. denied, 541 U.S.

911 (2004). See Brendlin v. California, 551 U.S. 249, 258,127 S.Ct. 2400, 168 L.Ed.2d

132 (2007). “An officer's inquiries into matters unrelated to the justification for the traffic

stop ... do not convert the encounter into something other than a lawful seizure, so long

as those inquiries do not measurably extend the duration of the stop. See Muehler v.

Mena, 544 U.S. 93, 100-101, 125 S.Ct. 1465, 161 L.Ed.2d 299 (2005).” Arizona v.

Johnson, __ U.S. __,129 S.Ct. 781, 788 (2009).

       Here, based on the totality of the circumstances, the court finds that the traffic

stop ended when Trooper Wolting returned the defendant’s documentation, issued the

warning citation, stated “No ticket. Just a warning. Thank you,” then left the passenger

window and walked to the rear of the vehicle. Having reviewed the video, the court is

confident that his inquiries before that termination did not measurably extend the

duration of the traffic stop. Before the court reaches the government’s contention that

the detention was transformed into a consensual encounter and/or that Trooper Wolting

reasonably suspected the defendants of criminal activity, the court examines whether

the defendants have standing to challenge their detention and the vehicle’s search.

                                     Standing

                                               8
      Case 5:09-cr-40031-SAC        Document 39      Filed 08/26/09     Page 9 of 23




       “Fourth Amendment rights are personal and cannot be claimed vicariously.”

United States v. Valdez Hocker, 333 F.3d 1206, 1208 (10th Cir. 2003). “The proponent

of a motion to suppress has the burden of adducing facts at the suppression hearing

indicating that his own rights were violated by the challenged search.” United States v.

Allen, 235 F.3d 482, 489 (10th Cir. 2000) (quotations omitted), cert. denied, 532 U.S.

989 (2001).

       Whether a defendant's own Fourth Amendment rights were violated by a
       challenged search turns on the classic Fourth Amendment test: whether the
       defendant manifested a subjective expectation of privacy in the area searched
       and whether society is prepared to recognize that expectation as objectively
       reasonable. This court has held that, in order for a defendant to show such an
       expectation of privacy in an automobile, the defendant bears the burden at the
       suppression hearing to show a legitimate interest in or [a] lawful control over the
       car.
Id. (quotations and citations omitted). It is defendants’ burden to establish that they had

a legitimate possessory interest in the vehicle.

       Here, it is uncontested that neither defendant owned or leased the vehicle.

Instead, defendants assert only that the vehicle belonged to a friend, their boss.

       “[A] defendant need not submit legal documentation showing a chain of lawful
       custody from the registered owner to himself.” Hocker, 333 F.3d at 1209. Where,
       as here, “the proponent of a motion to suppress is ... not the registered owner ...
       the proponent bears the burden of establishing ‘that he gained possession from
       the owner or someone with authority to grant possession.’ “ Id. (quoting United
       States v. Arango, 912 F.2d 441, 445 (10th Cir.1990)). We consider: “(1) whether
       the defendant asserted ownership over the items seized from the vehicle; (2)
       whether the defendant testified to his expectation of privacy at the suppression
       hearing; and (3) whether the defendant presented any testimony at the
       suppression hearing that he had a legitimate possessory interest in the vehicle.”
       Allen, 235 F.3d at 489.

Eckhart, 569 F.3d. at 1274-75. See United States v. Parada, __ F.3d __, No. 07-3272

(Aug. 25, 2009).

       In this case, none of the three factors above is shown by the evidence. No link

                                             9
     Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09    Page 10 of 23




between these defendants and the true owner of the vehicle has been shown.

              A defendant does not have standing to contest a search where he does
      not establish a link between himself and the registered owner. See United States
      v. Betancur, 24 F.3d 73, 77 (10th Cir.1994) (holding the borrower of a car lacks
      standing where the car registration indicates it is owned by someone other than
      the alleged lender and the borrower fails to present any evidence of a linkage
      between the lender and registered owner); United States v. Martinez, 983 F.2d
      968, 973 (10th Cir.1992) (holding the driver of a car lacks standing where she
      claims she borrowed the car from a friend, who in turn borrowed it from a third
      person, who was not shown to be connected in any way with the registered
      owner); Arango, 912 F.2d at 445-46 (denying standing to defendant who
      borrowed the vehicle from a person whom he knew was not the registered owner
      and who provided no evidence suggesting the lender was in lawful possession of
      the vehicle); United States v. Erwin, 875 F.2d 268 (10th Cir.1989) (denying
      standing to defendant who did not introduce any evidence at his suppression
      hearing to establish his legitimate possession of the vehicle).

Eckhart, 569 F.3d at 1275.

      Defendant Garcia told Trooper Wolting that the car belonged to his friend and

their boss, Michael Laviolette, for whom he worked part time, and showed Trooper

Wolting a business card for Mr. Laviolette’s business. No evidence showed that Mr.

Laviolette loaned the vehicle to either of these defendants for any purpose, and no

explanation was offered how either defendant came into possession of it.

      Even if Mr. Laviolette’s permission for the defendants to use the vehicle is

reasonably inferred from the facts, no evidence shows that Mr. Laviolette was the owner

of the vehicle or had the authority to grant possession of it. Compare Valdez Hocker,

333 F.3d at 1210. The court recognizes that even a slight connection to the lawful

owner of a vehicle may suffice to establish standing. See United States v. Soto, 988

F.2d 1548, 1553 (10th Cir.1993) (finding standing where the defendant stated that he

borrowed the automobile from his uncle, the registration matched his uncle's name, and

the car had not been reported stolen.) But where a defendant fails to establish any

                                           10
     Case 5:09-cr-40031-SAC        Document 39      Filed 08/26/09    Page 11 of 23




connection to the lawful owner or a person with authority to grant possession, no

standing exists. United States v. Campos-Campos, 198 F.3d 259, 1999 WL 987359, 3

(10th Cir.1999). See United States v. Betancur, 24 F.3d 73, 76 (10th Cir.1994) (finding

the borrower of a car lacks standing where its registration indicates it is owned by

someone other than the alleged lender, and the borrower fails to present any evidence

linking the two); United States v. Rubio-Rivera, 917 F.2d 1271, 1275 (10th Cir.1990);

United States v. Arango, 912 F.2d 441, 445 (10th Cir.1990); United States v. Rascon,

922 F.2d 584, 586-87 (10th Cir.1990) (fact that friend loaned car to defendantis

insufficient to show that friend had lawful possession of car), cert. denied, 500 U.S. 926

(1991); United States v. Erwin, 875 F.2d 268 (10th Cir.1989) (no standing where

defendant did not introduce evidence to establish his legitimate possession of vehicle);

United States v. Erickson, 732 F.2d 788, 790 (10th Cir.1984).

       Here, the facts fail to show whose name was on the registration the defendants

gave Trooper Wolting. But even if that registration were in Mr. Laviolette’s name,

Trooper Wolting found that the registration was not associated with the vehicle that the

defendants were in. Trooper Wolting tried to determine the ownership of the vehicle not

only by asking the defendants about it and by running its license tag, but also by

examining its registration and by running its VIN. Each effort was unsuccessful.

Although the vehicle was not reported as stolen, no evidence tended to show that its

owner was Mr. Laviolette. Under these circumstances, the court finds that the

defendants have failed to show the requisite possessory interest in the vehicle to give

rise to a reasonable expectation of privacy as necessary to directly challenge its search.

       Nonetheless, each defendant may “contest the lawfulness of his own detention

                                            11
      Case 5:09-cr-40031-SAC       Document 39         Filed 08/26/09   Page 12 of 23




and seek to suppress evidence found in the vehicle as the fruit of the [defendant's]

illegal detention.” United States v. Nava-Ramirez, 210 F.3d 1128 (10th Cir.), cert.

denied, 531 U.S. 887 (2000) (citations omitted).

        To successfully suppress evidence as the fruit of an unlawful detention, a
       defendant must first establish that the detention did violate his Fourth
       Amendment rights. The defendant then bears the burden of demonstrating a
       factual nexus between the illegality and the challenged evidence.

Nava-Ramirez, 210 F.3d at 1131(citation and quotation omitted). To satisfy the nexus

requirement, a defendant must show the evidence he seeks to have suppressed "would

never have been found but for his, and only his, unlawful detention." United States v.

DeLuca, 269 F.3d 1128, 1133 (10th Cir. 2001) (emphasis omitted). When the detained

defendant is a mere passenger in vehicle belonging to another person, this court has

determined he must show "that had he ... requested permission or otherwise attempted

to depart the scene, he would have been able to leave in [the owner's] car."

Nava-Ramirez, 210 F.3d at 1131.

       Defendants are unable to meet this burden. Because defendant Garcia told

Trooper Wolting that he had no driver’s license, it would be unreasonable to believe that

the Trooper would have permitted him to illegally operate the vehicle after the traffic

stop ended. Further, Trooper Wolting affirmatively stated at the hearing that he would

not have permitted either defendant to take the vehicle and leave after the traffic stop

ended, even if they had possessed a valid driver’s license. Accordingly, neither

defendant can show the evidence he seeks to have suppressed would not have been

found but for his, and only his, unlawful detention.

Consent


                                            12
      Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09    Page 13 of 23




       Because the defendants lack standing, there is no need to examine the

constitutionality of the search. Nonetheless, the court does so as an alternative basis for

its ultimate conclusion.

       Authority to consent

       Defendant Moldonado contends that any consent given by defendant Garcia was

invalid even if voluntarily given, because defendant Garcia lacked sufficient authority

over the vehicle to consent to their detention or its search. Defendant Maldonado claims

that because he had a valid driver’s license and passenger defendant Garcia did not, he

alone had sufficient control and authority over the vehicle to consent to its search, and

no allegation is made that he consented. Defendant Maldonado additionally contends

that Trooper Wolting had a duty to investigate the passenger’s control over the vehicle,

and that the Trooper should have asked defendant Maldonado for consent either through

the passenger or through an interpreter. The government argues that defendant Garcia

had both actual and apparent authority to consent to the search, since both men had

“mutual use of the vehicle by virtue of joint access with the owner at the time the vehicle

was stopped...” Dk. 33, p. 36.

              General law - consent searches

       "[O]ne of the specifically established exceptions to the requirements of both a

warrant and probable cause is a search that is conducted pursuant to consent."

Schneckloth v. Bustamonte, 412 U.S. 218, 219, 93 S.Ct. 2041, 36 L.Ed.2d 854 (1973).

"The [Fourth Amendment] prohibition does not apply ... to situations in which voluntary

consent has been obtained, either from the individual whose property is searched or

from a third party who possesses common authority over the premises." Illinois v.

                                            13
      Case 5:09-cr-40031-SAC        Document 39       Filed 08/26/09    Page 14 of 23




Rodriguez, 497 U.S. 177, 181, 185-86, 110 S.Ct. 2793, 111 L.Ed.2d 148 (1990).

       A vehicle search pursuant to voluntary consent from a third party with authority

over the vehicle does not violate the Fourth Amendment. See id; United States v.

Matlock, 415 U.S. 164, 171, 94 S.Ct. 988, 39 L.Ed.2d 242 (1974). A law enforcement

officer may conduct a warrantless search of a vehicle "if a person in control of the vehicle

has given his voluntary consent to the search." United States v. Zubia-Melendez, 263

F.3d 1155, 1162 (10th Cir. 2001). A person who lacks any common authority over the

automobile cannot validly consent to its search. United States v. Campos-Campos, 198

F.3d 259, 1999 WL 987359 at *4 (10th Cir. 1999), citing United States v. Matlock, 415

U.S. 164, 171, 94 S.Ct. 988, 39 L.Ed.2d 242 (1974).

        The authority which justifies the third-party consent does not rest upon the law of
       property, ... but rests rather on mutual use of the property by persons generally
       having joint access or control for most purposes[.]

Matlock, 415 U.S. at 171 n. 7, 94 S.Ct. 988. In determining whether the consenting

person had such authority, “[t]he relevant inquiry is whether the facts available would

have justified a reasonable officer in the belief that [the party] had authority over the

[vehicle].” (Citations omitted.) United States v. Chavez Loya, 528 F.3d 546, 554 -555 (8th

Cir. 2008).

       Either actual authority or apparent authority can give rise to valid third-party

consent.

       Valid third party consent can arise either through the third party's actual authority
       or the third party's apparent authority. A third party has actual authority to consent
       to a search if that third party has either (1) mutual use of the property by virtue of
       joint access, or (2) control for most purposes.... [A] third party has apparent
       authority to consent to a search when an officer reasonably, even if erroneously,
       believes the third party possesses authority to consent.


                                              14
     Case 5:09-cr-40031-SAC        Document 39      Filed 08/26/09    Page 15 of 23




United States v. Andrus, 483 F.3d 711, 716 (10th Cir.2007), cert. denied, --- U.S. ----,

128 S.Ct. 1738, 170 L.Ed.2d 542 (2008) (internal quotation and citation omitted) (citing

Georgia v. Randolph, 547 U.S. 103, 126 S.Ct. 1515, 164 L.Ed.2d 208 (2006)). See

United States v. Kimoana, 383 F.3d 1215, 1221-1222 (10th Cir. 2004).

       A passenger may have common authority to consent to a full search of a vehicle

based upon the principle defined by the Supreme Court in Matlock, 415 U.S. at 171 n. 7,

94 S.Ct. 988. See generally United States v. Lopez, 777 F.2d 543, 548 (10th Cir.1985);

United States v. Espinosa, 782 F.2d 888 (10th Cir.1986) (both addressing situations in

which voluntary consent to the search was given by the driver and the passenger). Thus

in Chavez Loya, 528 F.3d 546, the court found it reasonable for a Trooper to believe that

the passenger had common authority to consent to a search of the entire vehicle

because of three factors: 1) the passenger, upon Trooper’s request, opened the glove

box and removed the registration without any help or direction from the driver; 2) the

passenger responded to the Trooper's question about the vehicle's ownership, while the

driver remained silent; and 3) the driver gestured toward the passenger when the

Trooper asked the driver for permission to search the car, and the Trooper understood

this motion to mean that he should ask the passenger for permission to search.

     Common authority is generally established by showing some possessory interest in

the vehicle itself. See United States v. Miller, 2007 WL 1035019, 9 (E.D.Ky. 2007).

Compare United States v. Wogan, 356 F.Supp.2d 462, 467 (M.D.Pa. 2005) (finding no

reasonable basis for believing mere passenger had authority to consent where he did not

give any indication that he exercised any control over the vehicle in general or the trunk

in particular.) Where neither the passenger nor the driver has a possessory interest in

                                            15
      Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09     Page 16 of 23




the vehicle, superior knowledge about the vehicle and its control may be sufficient.

       At a minimum, a passenger without a possessory interest in the automobile must
       “show[ ] particular knowledge about the car and its control or dominion” to
       establish common authority. See United States v. Ospina, 682 F.Supp. 1182,
       1185-86 (D.Utah 1988).

Miller, 2007 WL 1035019, 10. See United States v. Botchway, 433 F.Supp.2d 163, 169

(D.Mass. 2006) (finding it reasonable for trooper to conclude that passenger had

authority to consent to the search of the car because driver stated he did not know who

owned the car, did not produce a registration for it, passenger said the vehicle belonged

to his girlfriend, and no other occupant objected to the search); United States v. Ospina,

682 F.Supp. 1182, 1185-86 (D.Utah 1988) (holding that a passenger had common

authority over a vehicle where he exhibited “particular knowledge about the car and its

control or dominion” by responding to an officer's request to a vehicle's occupants by

opening the glove box and retrieving the registration; answering officer's questions about

a sticker on the car window; and providing the keys to the officer to search the trunk);

United States v. Benitez-Soto,1998 WL 214724, 7-8 (D.Kan.1998) (finding that a trooper

could reasonably conclude that the passenger had authority to consent to the search of

the vehicle because the passenger was the newly designated driver and the only

occupant of the vehicle who knew the full name of the owner of the vehicle and was the

person to whom the owner had loaned the truck.)

       The court rejects defendant’s contention that Trooper Wolting should have

investigated further. “Where an officer is presented with ambiguous facts related to

authority, he or she has a duty to investigate further before relying on the consent.”

United States v. Cos, 498 F.3d 1115, 1128 (10th Cir. 2007), quoting United States v.


                                            16
      Case 5:09-cr-40031-SAC       Document 39      Filed 08/26/09     Page 17 of 23




Kimoana, 383 F.3d at 1215,1222 (10th Cir. 2004). Here, no ambiguous facts were

presented to Trooper Wolting relating to authority. Defendant Garcia alone responded to

all questions regarding ownership, identified the vehicle as belonging to his friend and

boss, and presented a business card from that business. Defendant Maldonado never

objected to, disagreed with, or contradicted Defendant Garcia’s statements in any

manner. Under the circumstances, Trooper Wolting reasonably, even if erroneously,

believed that defendant Garcia had authority to consent to further questions and to a

search.

                     Voluntariness of consent

       Defendant Maldonado claims he was never asked for consent and never spoke to

Trooper Wolting after the initial encounter because he made it known that he does not

speak English. Instead, the Trooper asked only the passenger, defendant Garcia, more

questions, and did not permit Defendant Garcia to translate. Defendant Maldonado

further contends that the Trooper leaned into the passenger window and this constituted

an “overbearing show of authority” which terminated any consensual encounter. See

United States v. West, 219 F.3d 1171, 1176 (10th Cir. 2000). Defendant Maldonado also

contends that after Trooper Wolting supposedly terminated the traffic stop, he again

asked questions concerning the car’s registration, the car’s ownership, and defendant

Garcia’s lack of driver’s license, unreasonably lengthening the traffic stop and making

them feel constrained to stay. Lastly, defendant contends that the totality of the

encounter led him to an objectively reasonable belief that he was not free to leave, so

that any consent given was not voluntary.

       The government bears the burden of showing that the defendant's consent was

                                            17
      Case 5:09-cr-40031-SAC        Document 39       Filed 08/26/09   Page 18 of 23




voluntary. See United States v. Sanchez, 89 F.3d 715, 718 (10th Cir.1996). To establish

voluntariness, the government must proffer clear and positive testimony that consent

was unequivocal and specific and freely and intelligently given and must prove that

consent was given without implied or express duress or coercion. Id. at 719 (quoting

United States v. McRae, 81 F.3d 1528, 1537 (10th Cir.1996)). Consent to search may be

voluntary even though the consenting party is being detained when consent is given.

United States v. Doyle, 129 F.3d 1372, 1377 (10th Cir.1997).

       Whether a defendant freely and voluntarily consented to the search of the vehicle

is a question of fact based on the totality of the circumstances. United States v.

Rosborough, 366 F.3d 1145, 1149 (10th Cir. 2004). The court considers whether the

officer's conduct constituted a coercive show of authority such that a reasonable person

would believe he was not free to “decline the officer's requests or otherwise terminate

the encounter.” Id. (internal quotation marks and citation omitted). Relevant factors

include:

        the threatening presence of several officers; the brandishing of a weapon by an
       officer; some physical touching by an officer; use of aggressive language or tone
       of voice indicating that compliance with an officer's request is compulsory;
       prolonged retention of a person's personal effects such as identification and plane
       or bus tickets; a request to accompany the officer to the station; interaction in a
       nonpublic place or a small, enclosed place; and absence of other members of the
       public.

United States v. Hill, 199 F.3d 1143, 1148 (10th Cir.1999) (examining consensual

encounter), cert. denied, 531 U.S. 830 (2000); see Soto, 988 F.2d at 1557-58 (evaluating

similar factors in context of investigative detention).

       Here, Trooper Wolting testified that he used a conversational tone throughout the

encounter, used no force, and ceased all physical contact with the vehicle before asking

                                              18
     Case 5:09-cr-40031-SAC        Document 39      Filed 08/26/09   Page 19 of 23




for and receiving permission to continue questioning the defendants after his termination

of the traffic stop. His testimony is supported by the videotape of the stop. Because

defendant Garcia had apparent authority to consent and defendant Maldonado sat mute

throughout the encounter, Trooper Wolting had no reason to seek defendant

Maldonado’s consent. The facts do not show that defendant Maldonado ever requested

that defendant Garcia interpret for him or that Trooper Wolting refused such a request.

Under the facts presented at the hearing and those revealed in the videotape, the court

finds that at no time did Trooper Wolting engage in a coercive show of authority, that the

detention ended as noted above, that the consents given by defendant Garcia were

voluntarily made, and that the trooper’s interaction with the defendants remained a

consensual encounter throughout the search.

                    Scope of consent to search

      Defendant Maldonado additionally appears to contend that the search of the

vehicle exceeded the scope of Garcia’s consent. He claims that Garcia’s agreement for

the Trooper to look in the vehicle meant only that the trooper could look for the presence

of illegal aliens in the vehicle. This argument flows from the colloquy between Trooper

Wolting and Defendant Garcia, as noted in the facts above.

      The scope of a search is generally defined by its expressed object. Florida v.

Jimeno, 500 U.S. 248, 251, 111 S.Ct. 1801, 114 L.Ed.2d 297 (1991). The standard for

measuring the scope of a consent is, objectively, what a reasonable person would have

understood by the exchange between the officer and the suspect as to the intended

scope of the search. Id.; United States v. Wacker, 72 F.3d 1453, 1470 (10th Cir.1995).

Considering the “totality of the circumstances” and viewing the evidence in the light most

                                            19
      Case 5:09-cr-40031-SAC        Document 39       Filed 08/26/09    Page 20 of 23




favorable to the government, the court determines “[w]hether a search remains within the

boundaries of the consent” given. United States v. Pena, 920 F.2d 1509, 1514-15 (10th

Cir.1990), cert. denied, 501 U.S. 1207 (1991).

       The court has listened to the flow of the conversation as recorded on the

videotape. Trooper Wolting’s pace of questioning and his listing of examples was rapid,

and defendant Garcia’s interruptions were frequent. Based upon the delivery of that

conversation, the court finds that a reasonable person in Trooper Wolting’s position

would have understood that he had asked for and had received consent to search the

vehicle for the presence of alcohol, guns, drugs, or illegal aliens, and other illegal items.

The trooper was justified in looking in any place in the vehicle which could harbor any

such item, including underneath the vehicle where the hidden compartment was found.

Because the court finds a consensual encounter followed by valid consent for the

search, it declines to reach the government’s contention that reasonable suspicion also

justified the detention.

              Movement of vehicle

       Defendant Maldonado additionally contends that consent was necessary and was

not given to move the vehicle and himself from the stop site to the Ellsworth Service

Center where a more thorough search of the vehicle was performed. Trooper Wolting

asked the defendants to follow him, but he never asked this defendant for consent to

move the vehicle.

       The facts reveal that Defendant Garcia consented to moving the vehicle and that

Trooper Wolting was justified in his belief that defendant Garcia had authority to do so.

But even in the absence of consent, the facts show that by the time Trooper Wolting

                                             20
      Case 5:09-cr-40031-SAC        Document 39       Filed 08/26/09     Page 21 of 23




asked the defendants to follow him, he already had a firm belief that the vehicle

contained a hidden compartment, giving him probable cause to believe that the

defendants were engaged in a crime. The vehicle was large enough that the very

presence of a hidden compartment would lead a reasonable officer to conclude that the

compartment was highly likely to contain contraband. See United States v. Zavala, 195

Fed.Appx. 746 (10th Cir. 2006); United States v. Ledesma, 447 F.3d 1307, 1316 (10th

Cir. 2006). Thus even assuming that Trooper Wolting ordered the vehicle to be moved,

his acts were legal. See Ornelas v. United States, 517 U.S. 690, 693, 116 S.Ct. 1657,

134 L.Ed.2d 911 (1996).3

       The court disagrees that defendant Maldonado was arrested prior to the trooper’s

detection of the hidden compartment. The court finds it unnecessary to reach the

government’s contention that even if a Fourth Amendment violation occurred, the

evidence need not be suppressed because the officers acted in good faith and

suppression would not serve the purpose of deterrence. See United States v. Leon, 468

U.S. 897, 104 S.Ct. 3405 (1984); Herring v. United States, 129 S.Ct. 695, 700 (2009).

Search of cell phone

       Defendant Maldonado challenges the search of his cell phone after he was

arrested. He appears to claim that any search of his cell phone for information other than

the specific numbers requested for booking purposes is beyond the scope of his

consent.



       3
        State v. Henning, __ Kan. __, 2009 WL 1811200 (2009), which held KSA 22-
501(c) facially unconstitutional, does not alter this result, as the search incident to arrest
exception examined there is inapplicable here.

                                              21
     Case 5:09-cr-40031-SAC        Document 39      Filed 08/26/09    Page 22 of 23




       No search

       The government first contends that defendant Maldonado lacks an expectation of

privacy in the address book type of information in his cell phone. Just as there is no

reasonable expectation of privacy in numbers called or numbers calling, because they

are voluntarily turned over to third parties, see Smith v. Maryland, 442 U.S. 735 (1979),

there may be no reasonable expectation of privacy in a cell phone’s recent call directory

or phonebook directory. See United States v. Fierros-Alavarez, 547 F.Supp. 2d 1206,

1210-11 (D.Kan. 2008). Where a defendant fails to show that he has a reasonable

expectation of privacy in the numbers searched, or that the numbers searched disclosed

more than the “addressing information” that would be revealed by a pen register, his

claim of an unreasonable search fails. See id ; United States v. Perrine, 518 F.3d 1196,

1204-05 (10th Cir. 2008); United States v. Forrester, 512 F.3d 500, 509 (9th Cir. 2008).

This is the case here.

       Scope of search

       Alternatively, even assuming that defendant Maldonado had a reasonable

expectation of privacy in some of the information retrieved by the agent, the court finds

that the search fell within the bounds of consent given by the defendant.

       The scope of a search is generally defined by its expressed object. Florida v.

Jimeno, 500 U.S. 248, 251, 111 S.Ct. 1801, 114 L.Ed.2d 297 (1991). The standard for

measuring the scope of a consent is, objectively, what a reasonable person would have

understood by the exchange between the officer and the suspect as to the intended

scope of the search. Id.; United States v. Wacker, 72 F.3d 1453, 1470 (10th Cir.1995).

Considering the “totality of the circumstances” and viewing the evidence in the light most

                                            22
     Case 5:09-cr-40031-SAC       Document 39     Filed 08/26/09   Page 23 of 23




favorable to the government, the court determines “[w]hether a search remains within the

boundaries of the consent” given. United States v. Pena, 920 F.2d 1509, 1514-15 (10th

Cir.1990), cert. denied, 501 U.S. 1207 (1991).

      The government contends that no boundaries were given by defendant

Maldonado and that his general consent validates the search conducted by the agent.

The court agrees. Under the circumstances presented here, a reasonable person in the

agent’s position would have understood by the exchange between the agent and

defendant Maldonado that the agent had his permission to look anywhere in his phone

that he needed to locate the numbers he had requested. The phone’s address book and

log of recent calls are places where the numbers requested were likely to be found. No

evidence was presented that the agent looked elsewhere.

      IT IS THEREFORE ORDERED that the motion to suppress by defendant

Maldonado (Dk. 21) and the motion to suppress by defendant Garcia (Dk. 27) are

denied.

      Dated this 26th day of August, 2009, Topeka, Kansas.



                                        s/ Sam A. Crow
                                        Sam A. Crow, U.S. District Senior Judge




                                           23
